Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 1 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 2 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 3 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 4 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 5 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 6 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 7 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 8 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 9 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 10 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 11 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 12 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 13 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 14 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 15 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 16 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 17 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 18 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 19 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 20 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 21 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 22 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 23 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 24 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 25 of 26
Case:99-09502-ESL7 Doc#:1 Filed:07/16/99 Entered:07/19/99 00:00:00   Desc:
                   Converted from NIBS Page 26 of 26
